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                                                                      Exhibit 1
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                                                                      Exhibit 1
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Oblique Aerial Photos of
Ongoing Construction at
Dade Collier T&T Airport
                    Photographed 5 July 2025

             Photos courtesy of Ralph Arwood

                   Text by Christopher McVoy

                                                                               Exhibit 1
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                   Newly Paved (Asphalted) Area




                                                                               Exhibit 1 2
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                                                                                      Photo 23,
                                                                                      Looking S.

                                                                                      Dark
                                                                                      rectangle
                                                                                      is new con-
                                                                                      struction.




                                                                               Exhibit 1 3
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Detail of Photo 23.

Dark rectangle is new construction (compare with June 2025 Google Earth
satellite imagery). Dark is almost certainly asphalt. Light sandy brown area to
east and north of asphalt is newly scrapped area. Red alignment lines were
                                                                          Exhibit 1 4
used to estimate extent of assumed paved area (next slide).
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Untilted, unrotated Google Earth image used to estimate area of the paved region
shown in Photo 23. Alignment lines shown in previous slide were used to locate eastern
and northern boundaries; vegetation rows to estimate location of southern Exhibit
                                                                          and western
                                                                                  1
boundaries. This newly paved area estimated to be 11+ acres.                           5
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                                                                                      Photo 11,
                                                                                      Looking W.

                                                                                      Dark blue-
                                                                                      ish
                                                                                      rectangle
                                                                                      on L side is
                                                                                      the newly
                                                                                      asphalted
                                                                                      area.




                                                                               Exhibit 1 6
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           Detail of Photo 11.

           Dark, blue-ish rectangle is new construction (can
           confirm by comparison with June 2025 Google
           Earth satellite imagery), almost certainly asphalt.
           Light sandy brown appears to be newly scrapped
           area.                                                               Exhibit 1 7
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                              Detainee Area
                           (on existing tarmac)




                                                                               Exhibit 1 8
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                                                                                       Photo 31,
                                                                                       Looking E.

                                                                                       Detention
                                                                                       Area (Block
                                                                                       of 7 white
                                                                                       tents in
                                                                                       LRH
                                                                                       corner).




                                                                               Exhibit 1 9
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                                                                         Detail of Photo 31.


                                                                         Detention Area on
                                                                         previously existing
                                                                         tarmac.

                                                                         According to
                                                                         Incident
                                                                         Commander Dr.
                                                                         Frankie Lumm, the
                                                                         four long tents
                                                                         each hold 250
                                                                         detainees for a
                                                                         total of 1,000.

                                                                         Total site capacity
                                                                         as of July 5, 2025 is
                                                                         1,000 detainees,
                                                                         2,000 less than the
                                                                         stated goal of
                                                                         3,000.
                                                                               Exhibit 1 10
Case 1:25-cv-22896-JEM Document 27-1 Entered on FLSD Docket 07/08/2025 Page 13 of 25 Photo 18,
                                                                                  Looking N.

                                                                                  Detention
                                                                                  Area and
                                                                                  portion of
                                                                                  employee
                                                                                  housing
                                                                                  (trailers).




                                                                             Exhibit 1 11
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                                                                                       Detail of Pho

                                                                                       Detention Ar
                                                                                       previously e
                                                                                       tarmac.

                                                                                    The light bro
                                                                                    area S and E
                                                                                    tarmac is ne
                                                                               Exhibit 1 12
                                                                                    leveled/scra
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                Employee Housing & Services Area
                  (on existing taxiway tarmac)




                                                                               Exhibit 1 13
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                                                                                   Photo 35,
                                                                                   Looking E.

                                                                                   The many
                                                                                   white
                                                                                   structures
                                                                                   on taxiway
                                                                                   (N strip)
                                                                                   are all
                                                                                   employee
                                                                                   housing
                                                                                   and/or
                                                                                   services.




                                                                               Exhibit 1 14
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                                                                           Detail of Photo 35.

                                                                           The many white
                                                                           structures on
                                                                           taxiway (N strip)
                                                                           are all trailers
                                                                           housing
                                                                           employees and/or
                                                                           services.

                                                                           The right strip is
                                                                           the main runway,
                                                                           which the Incident
                                                                           Commander
                                                                           indicated was
                                                                           being kept
                                                                           unimpeded for use
                                                                           as runway.




                                                                               Exhibit 1 15
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                                                                                       Photo 3,
                                                                                       Looking W.

                                                                                       Main
                                                                                       runway
                                                                                       (left) and
                                                                                       employee
                                                                                       housing
                                                                                       (right).




                                                                               Exhibit 1 16
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                                                                        Detail of Photo
                                                                        3, Looking W.

                                                                        Employee
                                                                        housing
                                                                        (numerous
                                                                        white blocks)
                                                                        on previously
                                                                        existing
                                                                        taxiway.




                                                                               Exhibit 1 17
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   Several Areas of New Road Construction/Asphalting




                                                                               Exhibit 1 18
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Detail of Photo 3, Looking W. New road, turnaround and asphalting of same at
east end of taxiway.                                                Exhibit 1 19
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Detail of Photo 11, Looking W. Two areas of new road and asphalting.
                                                                               Exhibit 1 20
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Detail of Photo 18, Looking N. White diagonal line on LHS is new road, not yet
asphalted.
                                                                                   Exhibit 1 21
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Detail of Photo 22, looking S. Western portions and “Y” split of newly paved
entrance road from main N-S entrance road.




                                                                                  Exhibit 1 22
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Detail of Photo 23, looking S. Western portion of newly paved entrance road
from main N-S entrance road.

                                                                                      Exhibit 1 23
